
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-249-CV





ROSS STRATMAN
	APPELLANT



V.



FRANK R. JELINEK
	APPELLEE



----------



FROM THE 141
ST
 DISTRICT COURT 
OF TARRANT COUNTY



------------



MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT



------------



On July 14, 2008, we sent appellant a second written notice, in accordance with Texas Rule of Appellate Procedure 42.3(c), that we would dismiss this appeal unless the $175 filing fee was paid by July 24, 2008. &nbsp;
See
 
Tex. R. App. P.
 42.3(c). &nbsp;Appellant has not paid the $175 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of rule 42.3(c) and the Texas Supreme Court’s order of August 28, 2007,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 43.4.



PER CURIAM



PANEL D: &nbsp;CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ.



DELIVERED:
 &nbsp;July 31, 2008

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:See
 Supreme Court of Tex., 
Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation
, Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).




